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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BETHANY DITZLER,                               :   CIVIL ACTION NO. 1:21-CV-1852
                                               :
                       Plaintiff               :   (Judge Conner)
                                               :
                 v.                            :
                                               :
PINNACLEHEALTH OBSTETRICS                      :
AND GYNECOLOGY SPECIALISTS,                    :
UPMC PINNACLE HOSPITALS,                       :
UPMC PINNACLE, HANFORD                         :
NDLOVU, BEVERLY A HALL                         :
NDLOVU, and LEE BLECHER,                       :
                                               :
                       Defendants              :

                              CASE ASSIGNMENT ORDER

        AND NOW, this 2nd day of November, 2021, upon consideration of the

complaint commencing the above-captioned civil action, which has been

transferred to this district and assigned to the undersigned, it is hereby ORDERED

that:

        1.       If service of the initial pleading cannot be made within the time
                 required by the Federal Rules of Civil Procedure, counsel shall submit
                 an appropriate motion for extension of time addressing the reasons for
                 the delay and the course of action requested.

        2.       If appropriate, the court will issue an order setting a date and time for
                 a mandatory case management conference in accordance with Federal
                 Rule of Civil Procedure 16 and Local Rule of Court 16.1 once joinder of
                 this matter has been accomplished.

        3.       It is essential that the answer or other responsive pleading or motion
                 be filed in the time provided by the Federal Rules. Counsel as well
                 as pro se litigants shall not enter into agreements for extension of time
                 without seeking court approval. Any such request shall be made by
                 appropriate motion in conformity with the Local Rules.
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4.       The parties shall comply fully with Rule 26 and other provisions of
         the Federal Rules. Counsel shall not cease active discovery pending
         disposition of a motion to dismiss.

5.       Inquiries concerning scheduling matters, courtroom logistics, and
         other matters should be directed to chambers at (717) 221-3945.



                                  /S/ CHRISTOPHER C. CONNER
                                  Christopher C. Conner
                                  United States District Judge
                                  Middle District of Pennsylvania
